      Case 1:11-cr-20445-TLL-CEB ECF No. 59, PageID.143 Filed 12/21/11 Page 1 of 2


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA
                                           CASE NO: 11-20445-04
vs.
                                           DISTRICT JUDGE THOMAS L. LUDINGTON
MITCHELL CLAPPER                           MAGISTRATE JUDGE CHARLES E. BINDER
                                    /


                                  ORDER REVOKING BOND

        Subsequent to receiving a written report from the supervising Pretrial Services officer,

a bond violation hearing was held on December 20, 2011. Defendant was represented by

counsel at the hearing. The court received the comments of the government counsel, and

counsel for the Defendant offered no comments.

        In her report, filed December 16, 2011, the Pretrial Services Officer notes that at the

Defendant's initial appearance and arraignment on charges of uttering counterfeit securities,

preliminary urinalysis was positive for marijuana. More importantly, approximately a month

later, while on bond, the Defendant again tested positive for marijuana. Among the

Defendant's conditions of bond was the requirement that he attend substance abuse

treatment. He did so on August 12, but he failed to report for group treatment sessions on

August 9 and August 19.

        On August 26, during a home call conducted by the Pretrial Services Officer, the

Defendant admitted that he had not stopped using marijuana. A urinalysis specimen

submitted October 27 at the Sacred Heart rehabilitation facility was found to be invalid

because it was diluted. The Defendant was ordered to appear for random urinalysis testing

by the Pretrial Services Officer on November 16. The specimen was found to be positive for

marijuana, both at the preliminary and lab analysis stages. The Defendant was invited to

discuss the matter with Pretrial Services, but he failed to call the Officer. The Defendant has
   Case 1:11-cr-20445-TLL-CEB ECF No. 59, PageID.144 Filed 12/21/11 Page 2 of 2


also failed to report on December 7, and failed again to appear for random urinalysis testing

at the Sacred Heart facility on December 15.

       The Defendant has established a consistent pattern of refusal to comply with

fundamental conditions of his bond. As a result, I am forced to conclude that there are no

conditions, nor any combination of bond conditions which will reasonably assure either the

safety of the community, or the Defendant's appearance.

       Accordingly, IT IS ORDERED that the Defendant’s bond is hereby revoked, and he is

remanded into the custody of the U.S. Marshal’s Service.

       Review of this Order is governed by 28 U.S.C. § 636(b)(1)(A) and E.D. Mich. LR

72.1(d)(1). Pursuant to Local Rule 72.1(d)(2), a copy of any objections is to be served upon

this Magistrate Judge.




                                                    s/   Charles E Binder
                                                                 `


                                                  CHARLES E. BINDER
Dated: December 21, 2011                          United States Magistrate Judge




                                        CERTIFICATION

       I hereby certify that this Order was electronically filed this date, electronically served
on Libby Dill and Philip Sturtz, and served on Pretrial Services and the U.S. Marshal’s
Servicein the traditional manner.

Date: December 21, 2011             By    s/Jean L. Broucek
                                    Case Manager to Magistrate Judge Binder
